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13                                                     Counsel for Defendant

14
                                    UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                            SAN JOSE DIVISION
17

18                                                 Case No. 5:12-MD-2314-EJD
      IN RE FACEBOOK INTERNET
19    TRACKING LITIGATION                         NOTICE OF AGREEMENT IN PRINCIPLE TO
                                                  SETTLE CASE AND STIPULATED REQUEST
20                                                AND [PROPOSED] ORDER:

21                                                1. TO CONTINUE CASE MANAGEMENT
                                                     CONFERENCE AND VACATE RELATED
22                                                   DEADLINES, AND

23                                                2. TO SCHEDULE BRIEFING AND HEARING
                                                     ON MOTION FOR PRELIMINARY
24                                                   APPROVAL OF CLASS ACTION
                                                     SETTLEMENT
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                                                              NOTICE OF AGREEMENT IN PRINCIPLE TO SETTLE
                                                  1.                            AND STIPULATION RE CMC
                                                                            (CASE NO. 5:12-MD-2314-EJD)
          Case 5:12-md-02314-EJD Document 215 Filed 07/28/21 Page 2 of 4



 1          Plaintiffs Perrin Davis, Cynthia Quinn, Brian Lentz, and Matthew Vickery (“Plaintiffs”) and

 2   Defendant Facebook, Inc. (“Facebook”) (collectively “the Parties”) hereby notify the Court that they

 3   have agreed in principle to settle all claims in this MDL and in the related parallel state court action

 4   on a nationwide class basis. Therefore, pursuant to Civil Local Rule 6-2, by and through their

 5   respective counsel, the Parties stipulate and agree as follows, subject to Court approval:

 6          WHEREAS, the Parties have been engaged in an ongoing mediation process for several

 7   months (as the Court has previously been advised) and have reached an agreement in principle to settle

 8   all claims in this MDL and the related state court action;

 9          IT IS HEREBY STIPULATED AND AGREED that, subject to Court approval, the following

10   deadlines and dates be changed and set as follows:

11             The July 29, 2021 deadline to file stipulated proposed ESI Protocol (Dkt. No. 212) is

12              hereby VACATED.

13             Plaintiffs’ July 29, 2021 deadline to file proposed efficiency protocol (Dkt. No. 212) is

14              hereby VACATED.

15             The July 29, 2021 deadline to file a Supplemental Joint Status Conference Statement (Dkt.

16              No. 212) is hereby VACATED.

17             The Parties shall conclude negotiations over the Settlement Agreement and Plaintiffs shall

18              file their Motion for Preliminary Approval of Class Action Settlement and Notice Plan,

19              Motion for Certification of Settlement Class, and Motion for Appointment of Class

20              Counsel (together, the “Motion”), on or before September 24, 2021.

21             Any oppositions to the Motion shall be filed by October 8, 2021.

22             Any replies in further support of the Motion shall be filed by October 15, 2021.

23             The Further Status Conference, currently scheduled for August 5, is CONTINUED to

24              October ____, 2021, at _______ a.m./p.m., the same time as the hearing on the Motion.

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                                                                  NOTICE OF AGREEMENT IN PRINCIPLE TO SETTLE
                                                      2.                            AND STIPULATION RE CMC
                                                                                (CASE NO. 5:12-MD-2314-EJD)
         Case 5:12-md-02314-EJD Document 215 Filed 07/28/21 Page 3 of 4



 1   Dated: July 28, 2021               COOLEY LLP

 2

 3                                      /s/ Michael G. Rhodes
                                        Michael G. Rhodes (116127)
 4
                                        Attorneys for Defendant
 5                                      Facebook, Inc.
 6
     Dated: July 28, 2021               MAYER BROWN LLP
 7

 8
                                        /s/ Lauren R. Goldman
 9                                      Lauren R. Goldman (admitted pro hac vice)
10                                      Attorneys for Defendant
                                        Facebook, Inc.
11

12   Dated: July 28, 2021               DiCELLO LEVITT GUTZLER LLC
13

14                                      /s/ David A. Straite
                                        David A. Straite (admitted pro hac vice)
15
                                        Interim Co-Lead Counsel for the Class
16

17
     Dated: July 28, 2021               GRYGIEL LAW LLC
18

19
                                        /s/ Stephen G. Grygiel
20                                      Stephen G. Grygiel (admitted pro hac vice)
21                                      Interim Co-Lead Counsel for the Class
22
     Dated: July 28, 2021               SIMMONS HANLY CONROY LLC
23

24
                                        /s/ Jay Barnes
25
                                        Jason “Jay” Barnes (admitted pro hac vice)
26
                                        Chair, Plaintiffs’ Steering Committee
27

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                                                   NOTICE OF AGREEMENT IN PRINCIPLE TO SETTLE
                                          3.                         AND STIPULATION RE CMC
                                                                 (CASE NO. 5:12-MD-2314-EJD)
          Case 5:12-md-02314-EJD Document 215 Filed 07/28/21 Page 4 of 4



 1                                             ATTESTATION

 2          Filer’s Attestation: Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, David A.

 3   Straite hereby attests that concurrence in the filing of this document has been obtained.

 4   Dated: July 28, 2021                          DiCELLO LEVITT GUTZLER LLC

 5

 6                                                 /s/ David A. Straite
                                                   David A. Straite (admitted pro hac vice)
 7
                                                   Interim Co-Lead Counsel for the Class
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10                                          PROPOSED ORDER

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12   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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14   DATED:
                                                           The Honorable Edward J. Davila
15                                                         United States District Judge
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                                                               NOTICE OF AGREEMENT IN PRINCIPLE TO SETTLE
                                                      4.                         AND STIPULATION RE CMC
                                                                             (CASE NO. 5:12-MD-2314-EJD)
